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           Appellate Division of the Supreme Court
                    of the State of New York
                   Third Judicial Department


     I, Robert D. Mayberger, Clerk of the Appellate Division of
the Supreme Court of the State of New York, Third Judicial
Department, do hereby certify that

                  Davin McKay Rosborough
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on April 14, 2011,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and         according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of Albany on April
                              1, 2025.




                                    Clerk of the Court


CertID-00223557
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                                 State of New York
                         Supreme Court, Appellate Division
                            Third Judicial Department
                                 Admissions Office
                           P.O. Box 7350, Capitol Station
                              Albany, NY 12224-0350

                               AD3AdmissionsOffice@nycourts.gov
Robert D. Mayberger                                                              Anthony A. Moore
                            http://www.nycourts.gov/ad3/admissions
 Clerk of the Court                                                             Director of Attorney
                                        (518) 471-4778
                                                                                    Admissions




     To Whom It May Concern:


            An attorney admitted to practice by this Court may request a certificate of good
     standing, which is the only official document this Court issues certifying to an
     attorney's admission and good standing.


            An attorney's registration status, date of admission and disciplinary history may
     be viewed through the attorney search feature on the website of the Unified Court
     System.


            New York State does not register attorneys as active or inactive.


           An attorney may request a disciplinary history letter from the Attorney
     Grievance Committee of the Third Judicial Department.


          Bar examination history is available from the New York State Board of Law
     Examiners.


            Instructions, forms and links are available on this Court's website.




                                                      Robert D. Mayberger
                                                      Clerk of the Court


     Revised January 2022
